       Case 4:10-cr-01031-FRZ-GEE Document 21 Filed 01/14/16 Page 1 of 1




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 9                       IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
11
12   United States of America,                              CR 10-01031-TUC-FRZ
                          Plaintiff,
13                                                   NOTICE OF PAYMENT TOWARDS
                   v.                                   FORFEITURE JUDGMENT
14
     Jonathan Paul Horowitz,
15                        Defendant.
16         The United States of America, by and through its undersigned attorneys, hereby
17   gives notice that the defendant has paid $13,100 towards the forfeiture money judgment
18   entered against him on September 21, 2010 by this Court. Therefore, the remaining
19   balance of the money judgment is $8,812 in United States currency.
20         Respectfully submitted this 14th day of January, 2016.
21
22                                           JOHN S. LEONARDO
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23                                           District of Arizona
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25                                           Criminal Division
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26
                                             s/ Laura J. Gwinn
27
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